

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-53,961-07






ALFRED ARMANDO ACROND, Relator


v.


CHAMBERS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 9902-E

IN THE 344TH JUDICIAL DISTRICT COURT FROM CHAMBERS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 344th Judicial District Court of Chambers County, that more than 35 days have elapsed, and
that the application has not yet been forwarded to this Court.  Relator has filed previous 11.07
applications.  This allegation is specifically regarding an application alleged to have been filed after
this Court's denial of his previous application in October 2010.

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Chambers County, is ordered to file a response, which may be made by: submitting the record on
such habeas corpus application; submitting a copy of a timely filed order which designates issues
to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); or stating that
Relator has not filed an application for habeas corpus in Chambers County.  Should the response
include an order designating issues, proof of the date the district attorney's office was served with
the habeas application shall also be submitted with the response. 

	This application for leave to file a writ of mandamus shall be held in abeyance until the
respondent has submitted the appropriate response.  Such response shall be submitted within 30 days
of the date of this order.



Filed:  June 15, 2011

Do not publish	


